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W.D. OF TN, §\ril-_`MPHS

VS. NO. 04-20336-Ma

GARY WOODARD,

Defendant.

 

ORDER RESETTING SENTENCING DATE

Before the court is the defendant’s April 18, 2005, motion
to continue the sentencing hearing. For good Cause shown, the
motion is granted. The sentencing of defendant Gary Woodard is

reset to Tuesday, May 24, 2005 at 9:00 a.m.

It is so ORDERED this lgfk`day of April, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

   

UNITD sATES DRISTIC COURT - ESTERN DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-20336 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

